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NVB 5075 (Rev. 1/19)


                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEVADA


 IN RE:                                                   BK−20−12814−mkn
                                                          CHAPTER 11
 RED ROSE, INC. ,
                                     Debtor(s)
                                                          Adversary Proceeding: 21−01245−mkn


 ACF FINCO I, LP, et al,                                  NOTICE OF DOCKETING
                                     Plaintiff(s)         ERROR

 vs

 ALPHA SUPPLY, LLC, et al,
                                     Defendant(s)




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:            11 − Answer to Complaint (Related Doc # 1) Filed by
                                           BRIAN R. IRVINE on behalf of ALPHA SUPPLY, LLC
                                           (IRVINE, BRIAN)
           Filed On:                       6/10/22
           With A Hearing Date Of:         N/A
           And A Hearing Time Of:          N/A

The reason(s) for the required correction(s) is as follows:

   *     PDF has an incorrect case caption. Please Refer to the Local Rules and file an amended
         pleading or file in the correct case immediately. The following caption item(s) are
         incorrect/missing:
         * Document Title




Dated: 6/13/22


                                                        Mary A. Schott
                                                        Clerk of Court



      For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
